             Case 19-12070-LMI          Doc 2        Filed 02/15/19    Page 1 of 62




                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                    l\1JAMI DIVISION
                                  \\'\\ \\ .tlsh. uscourts.Q.O\'


In re:

MARANGONI TREAD LATI NO AMERICA                               Chapter 15
INDUSTR IA E COMERCIO DE ARTEFATOS
DE BORRACHA LTDA                                              Case No.:

     Debtor in a Foreign Proceeding.
_________________________            /

                   VERIFIED PETITION FOR ORDER GRANTING
                  RECOGNITION OF FOREIGN MAIN PROCEEDING
             PURSUA NT TO§§ 1515 AND 1517 OF THE BANKRUPTCY CODE

         Otavio de Paoli Balbino de Almeida Lima (the "Foreign Representative''). the duly

appointed foreign representative of Marangoni Tread Lat ino America Industria e Comercio de

Arte fatos de Borracha Ltda (the '·Debtor"), files this Verified Petition for Order Granting

Recognilion of ForeiKn Main Proceeding Pursuanllo §§ 1515 and 151 7 of the Bankruplcy Code

(the '"Verified Motion''), seeking entry of an Order granting (i) recognition of the Debtor' s court-

approved reorganization pending before the Second Civil Court of Lagoa Santa. Minas Gerais,

Brazil (the ··Brazilian Court''), Case No. 0048412-39.2018.8.13.0148 (the ··Brazi lian Proceeding'')

pursuant to II U.S.C. § 15 17 1; (ii) related relief pursuant to sections 1520 and 1521 of the

Bankruptcy Code; and (iii) any other and further relief which may be avai lable under the

Bankruptcy Code. In support of this Verified Motion, the Foreign Representative respectfull y

states as follows:

                                PRELIMINARY STATEMENT



         1
          Unless otherwise specified herein, all statutory references shall be to Title II U.S.C. §
I0 I et seq. (the ··Bankruptcy Code").


                                      SEQUOR L AW,   P.A.                                  Page I of 6
             Case 19-12070-LMI        Doc 2     Filed 02/15/19       Page 2 of 62




       1.      The Foreign Representative files this Verified Chapter 15 Petition for Recognition

of a Foreign Proceeding (the '·Petition'') pursuant to section 1504 of the Bankruptcy Code seeking

recognition of the Brazilian Proceeding as a .. foreign main proceeding'' as defined in section

1502(4).

       2.      The Declaration ofOtavio de Paoli Balbino de Almeida Lima (the '·Declaration''),

made under penalty of perjury, addressing the requirements of § 1515(c) and Federal Rule of

Bankruptcy Procedure 1007(a)(4). is attached hereto as Exhibit "A".

        3.     The Order granting the Court-Approved Reorganization of the Debtor and

appointing the Foreign Representative' s law firm as judicial administrator, as well as the Court

Certification of the Order appointing the Foreign Representative as judicial manager (which

provides expanded powers over those of judicial administrator) and naming him the Foreign

Representative of the Debtor attached to the Declaration are attached hereto as Composite Exhibit

"B".

        4.     The Debtor' s Statement of Corporate Ownership under Fed. R. Bankr. P.

1007(a)(4) and 7007.1 is attached hereto as Exhibit "C".

        5.     The Petition, this Verified Motion, and the accompanying Declaration thereto

demonstrate that the Brazilian Proceeding should be recognized as a foreign main proceeding

pursuant to section 1517 ofthe Bankruptcy Code.

        6.     The Foreign Representative seeks the type of relief that chapter 15 was designed to

provide, and the Brazilian Proceeding and this Petition meet all the requirements for recognition

and the requested relief.

                                JURISDICTION AND VENUE

        7.     The Court has jurisdiction over this matter pursuant to 28 U.S.C. § 157(b) and




                                     S EQUOR LAW,   P.A.                                Page 2 of6
                Case 19-12070-LMI        Doc 2     Filed 02/15/19      Page 3 of 62




sections I09 and ISO I of the Bankruptcy Code.

         8.      This is a '·core·· proceeding pursuant to 28 U.S.C. § 157(b)(2)(P), and the Court

may enter a final order consistent with Article Ill of the United States Constitution.

         9.      The city of Lagoa Santa. Minas Gerais, Brazil is the Debtor"s center of main

interests. where it is incorporated and maintains its principle place of business.

         10.     Venue is proper in this district under 28 U.S.C. § 1410 as, among other things, the

Debtor has approximately US$1 ,500 deposited on retainer with Sequor Law, P.A.

                        BACKGROUND AND BASIS FOR RECOGNITION

          II.     The Declaration sets forth in detail the background and basis for recognition. See

Ex. A.

          12.     The Foreign Representative has satisfied each of the requirements for recognition

of the Debtor and the Trustee under Chapter 15 of the Bankruptcy Code. as follows:

                  (a)    The Foreign Representative qualifies as a '·foreign representative'' under

 section I0 I(24) of the Bankruptcy Code by virtue of his appointment as judicial manager by the

 Brazilian Court, which grants him the power to, among other things, supervise the reorganization

 of the Debtor and to investigate the actual causes of the reorganization and, when necessary, pursue

 causes of action for the benefit of creditors.

                  (b)    The Brazilian Proceeding qualifies as a '"foreign proceeding" under section

 101(23) ofthe Bankruptcy Code because it is a judicial proceeding pending in a Brazilian court

 under the bankruptcy laws of Brazil for the purpose of reorganization. See !d.

                  (c)     The Brazilian Proceeding further qualifies as a ''foreign main proceeding''

 because the Brazilian Proceeding is a foreign proceeding pending in Brazil, which is the Debtor's

 center of main interests. See !d.




                                         S EQUOR LAW,   P.A.                               Page 3 of6




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              Case 19-12070-LMI        Doc 2      Filed 02/15/19       Page 4 of 62




                (d)    To the extent section 109(a) of' the Bankruptcy Code applies in Chapter 15

cases. the Debtor qualifies as a "debtor" under secti on 109(a) because the Debtor is the subject of

a foreign proceeding and has assets in the United States. which include a retainer on deposit with

the Sequor Law. P.A. law finn.

                (e)    Lastly. this Verified Motion is accompanied by the Brazilian Court's Order

granting the court-approved reorganization of the Debtor and appointing the foreign

Representative as forei gn representative. See Ex. A. Further. the Statements required by Rule

1515(c) and Fed. R. Bankr. P. l 007(a)(4) are being filed together herewith. See Ex. C.

                                     RELIEF REQUESTED

        2.      By this Verified Motion. the Foreign Representative respectfully requests an Order

pursuant to sections 105(a). 1507. 1517. 1520 and 1521 of the Bankruptcy Code. substantially in

the form of the Proposed Order, attached hereto as Exhibit" D". granting the following rei ief:

        (a)     Recogni zing the Brazilian Proceeding as a "foreign main proceeding•· and the

Foreign Representative as the foreign representative of the Debtor.

        (b)     Granting the relief allowable as of right upon recognition of a foreign mam

proceeding under section 1520 of the Bankruptcy Code;

        (c)     Granting the following additional relief under section 1521 of the Bankruptcy

Code:

                ( 1)   staying the commencement or continuation of any action or proceeding

without the consent of the Foreign Representative concerning rights. obligations or liabilities of

the Debtor, the Debtor's estate to the extent not stayed under section 1520(a) of the Bankruptcy

Code;




                                      SEQUOR LAW.   P.A.                                  Page 4 of6
              Case 19-12070-LMI          Doc 2      Filed 02/15/19      Page 5 of 62




               (2)      staying execution against the Debtor to the extent not stayed under §

1520(a);

               (3)      suspending the right to transfer or otherwise dispose of any assets of the

Debtor to the extent this right has not been suspended under section 1520(a);

               (4)      providing for the examination of witnesses, the taking of evidence, and the

delivery of information concerning the assets. affairs. rights, obligations or liability ofthe Debtor,

the Debtor"s estate under§ 1521 (a)( 4), the Federal Rules of Bankruptcy Procedure, including Fed.

R. Bankr. P. 2004, and Local Rule 2004-1;

               (5)      entrusting the administration or realization of all of the assets of the

Debtor·s within the territorial jurisdiction of the United States to the Foreign Representative;

               (6)      entrusting the distribution of all or part of the assets of the Debtor located

with in the United States to the Foreign Representative;

                (7)     otherwise granting comity to and giving full force and effect to the Orders

of the Brazilian Court attached as composite Ex. B; and

        (d)     granting the Foreign Representative such other and further relief as this Court may

deem just and proper.



                                          CONCLUSION

        WHEREFORE, the Foreign Representative respectfully requests that the Court enter an

Order granting the relief requested herein and such other and further relief as the Court deems just

and proper.




                                        S EQUOR LAW, P.A.                                    Page 5 of6
Case 19-12070-LMI   Doc 2   Filed 02/15/19   Page 6 of 62
Case 19-12070-LMI   Doc 2   Filed 02/15/19   Page 7 of 62




                                         EXHIBIT “A”

                    SEQUOR LAW, P.A.
                 Case 19-12070-LMI               Doc 2          Filed 02/15/19                Page 8 of 62




                            UNITED STATES BANKIHJPTCY COURT
                             SOUTIIF.RN UISTIHCT OF FLORIDA
                                     MIAMI UIVISION
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In rc:

MARANGONI TREAD LATINO AMERICA                                                    Chapt~.:r   15
INDUSTRIA E COMERCIO DE ARTEFATOS
DE 130RRACHA LTO/\                                                                Cas~:   No. :

         Debtor in a   For~.:ign   Proceeding.
----------------------------- I
     DECLARATION OF TilE FOREIGN RF.PRF.SENTATIVE IN SUPPOI{T OF
    CHAPTER 15 PF.TITION FOR RECOGNITION OF A FOREIGN PI{OCEEDIN<;

         I, Otavio de Paoli 13albino de Almeida Lima, hereby declare under penalty ofp~.:rjury under

the laws of the United States as follows:

         I.        I am over the age of 18 and I am competent to make thi s Decimation. All stat~.:m~.:nts

contained herein of the Debtor' s operations and financial condition an.: true to the best of my

knowledge, my review of the relevant documents and from conversations with relevant personnel.

If called upon, I could testify as to all matters set forth in this declaration based upon my own

personal knowledge, except for those portions speci lied as being otherwise.                             I am a native

Portuguese speaker and sufficiently proficient in written English. I have sworn to the contents of

this Declaration in Portuguese and do so again in English here.

         2.        This Declaration is submitted in support of the Chapter 15 Petition for Recognition

of a Foreign Proceeding (the "Petition") and the Verified Petition for Order Granting Recognition

of Foreign Main Proceeding Pursuant to §§ 1515 and 1517 of the l3anknrptcy Code (the .. Verified

Motion")' , seeking entry of an Order granting (i) recognition of the l3razilian Proceeding as a



         1
              Capitalized terms not otherwise defined herein shall have the meaning ascribed to them

                                            S EQlJOR LAW,         P.A.                                       Page I o l'9


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               Case 19-12070-LMI          Doc 2     Filed 02/15/19      Page 9 of 62




'·foreign main proceeding'' pursuant to section 1517 of the Bankruptcy Code; (ii) related relief

under sections 1520, 1521 ; and (iii) other applicable relief under the Bankruptcy Code.

        3.      On or about September 14, 2017, Marangoni Tread Latino America Industria e

Comercio de Artefatos de Borracha Ltda (the "Debtor") filed a petition with the Second Civil

Court of Lagoa Santa.          Minas Gerais (the " Brazilian        Court"),    Case No.    0061482-

60.20 17.8.13.0 148, for an order authorizing the reorganization of the Debtor under the applicable

Brazilian law (the ''Brazilian Proceeding" ). On or about November 13, 2017, the Brazilian Court

entered a decree approving the application for reorganization of the Debtor (the " Decree"). A true

and correct copy of the Decree is attached hereto as Exhibit 1 ".

        4.      The Decree appointed my law firm, Paoli Balbino & Barros Sociedade de

Advogados, the '·judicial administrator" of the Debtor in the Brazilian Proceeding.2 The duties of

the judicial administrator during a reorganization proceeding includes the authority to conduct

investigations of the actual causes of the insolvency, of conflict of interests that may exist between

the Debtor and its management, and, when necessary, and after authorized by the supervising

Judge, the filing of available causes of action for the benefit of the creditors.

        5.      In addition to a judicial administrator, the Brazilian Court appointed an expert

accountant, sua sponte, to review the books and all prior transactions of the Debtor, because of

inconsistencies noted by the Court.




in the Verified Motion.

       2  Under Brazilian law, in a reorganization proceeding, the debtor and its managers reta in
control of the debtor's business operations under the monitorin g of a creditors' committee (if a ny)
and the judicial administrator. Management's control can be ousted if, for instance, the Debtor or
its managers act unlawfully, inappropriately, or against the interests of the creditors.


                                       SEQUOR LAW, P.A.                                    Page 2 of 9
              Case 19-12070-LMI        Doc 2     Filed 02/15/19      Page 10 of 62




       6.       Later. on January 25. 2019. the Brazil ian Court named me the judicial manager and

recognized me as the foreign representative of the Foreign Proceeding (''Appointment Order''). A

"judicial manager'' is similar to a judicial administrator but such office can hold additional and

expanded powers. A judicial manager can, under Brazilian law, manage the company and/or file

claims on behalf of the company, if duly authorized. A true and correct copy of a Judicial

Certification of the Appointment Order is attached hereto as Exhibit "2".

       7.       Accordingly, I am qualified under Brazilian law to serve as judicial manager for

the Debtor's reorganization proceeding and have the explicit authority to act as the Debtor' s

foreign representative to seek Chapter 15 recognition ofthe Brazilian Proceeding.

       8.       For the reasons set forth below, I am advised of the following: (i) that I am a duly

appointed •·foreign representative" of the Brazilian Proceeding; (ii) that the Brazilian Proceeding

constitutes a '·foreign main proceeding" within the meaning of section I 0 I (23) and (24) of the

Bankruptcy Code, respectively; (ii) that this case was properly commenced in accordance with the

requirements of the Bankruptcy Code; and (iii) that the Brazilian Proceeding satisfies all the

requirements to be recognized as a •·foreign main proceeding" under the Bankruptcy Code.

                                  The Debtor and Its Business

       9.      The Debtor is the Brazilian subsidiary of the Marangoni conglomerate (the

''Conglomerate"). The Conglomerate is one of the leading brands in the tire industry. After 70

years in the industry, the Conglomerate is known worldwide for tire retreading, design and

manufacturing, and production of industrial tires and compounds.

       I 0.    The Debtor was incorporated in 1998 and was the sole subsidiary of the

Conglomerate in South America at the time. The Debtor is owned and controlled by Italian




                                      S EQUOR LAW,   P.A.                                Page 3 of9
              Case 19-12070-LMI                           Doc 2                        Filed 02/15/19                         Page 11 of 62




companies Marangoni, S.p.A., and Eurorubber, S.p.A. (collectively, the " Italian Companies'').

which are also part of the Conglomerate.

        II.     The Debtor enjoyed success throughout South America, and in turn established

subsidiaries of its own. One year prior to the initialization of the Brazilian Proceedings, the Debtor

owned and controlled 51 percent of Marangoni Argentina, S.A. ("Argentinean Subsidiary"), and

99 percent of Brazilian companies RT Uberaba Reforma de Pneus Ltda, RT ltajai Reforma de

Pneus Ltda, and RT Bicas Reforrna de Pneus Ltda (collectively, the ''Brazilian Subsidiaries"). The

diagram below shows the ownership structure as it was prior to start of the Brazilian Proceedings:

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        12.     Despite the growth, the Debtor declared a debt of approximately R$57,458, I09.96

Brazilian Reais, allegedly caused by the Brazilian economic downturn in 2014/2015, low sales,

payment defaults, and increased price of rubber. It appears that the Debtor has since sold or




                                                        SEQUOR L A\V, P.A.                                                                         Page 4 of9
              Case 19-12070-LMI        Doc 2     Filed 02/15/19      Page 12 of 62




transferred its shares in the Argentinean Subsidiary and the Brazilian Subsidiaries, for little or no

consideration, and which may have caused a negative impact to the Debtor's reorganization efforts.

                              The Debtor's Reorganization Process

        13.    The Brazilian Proceedings were initiated in September, 2017. In November, 2017,

the Brazilian Court issued the Decree approving the reorganization request and appointing a

judicial administrator, as well as appointing, sua sponte, an expert accountant.

        14.     The Brazilian Court instructed the expert accountant to audit the financial books of

the Debtor and identify any potential inconsistencies therein and compare the listed creditors with

creditors identified in the financial books. In addition, the Brazilian Court instructed the expert

accountant to conduct a forensic audit on transactions between the Debtor and the Italian

Companies, Argentinean Subsidiary, and the Brazilian Subsidiaries, and, also, to identify the

liquidity of the company' s assets.

        15.    At the end of his investigation, the expert accountant was able to identify several

inconsistences between the balance sheets and the financial books provided, and concluded that

there were a number of transactions between the Debtor and the Argentinean Subsidiary and

Brazilian Subsidiaries that had detrimental impacts to the Debtor's finances. The expert report has

been submitted to the Brazilian Court, who will make the ultimate findings on the inconsistencies.

        16.    The investigations also identified that the United States Subsidiary, the Italian

Companies and the Argentinian Subsidiary of the Conglomerate may have caused the aggravation

of the financial situation of the Debtor, and that the Subsidiaries may have acquired products

manufactured by the Debtor for a value bellow its production costs. As a result, I was appointed

judicial manager and foreign representative on January, 25, 2019, to investigate transactions of the




                                      SEQUOR LAW,   P.A.                                  Page 5 of9
                                                                                                ./
             Case 19-12070-LMI         Doc 2        Filed 02/15/19   Page 13 of 62




Debtor and its subsidiaries with the US subsidiary of the Conglomerate. other US entities. or other

insiders and affiliates.




                                    S EQlJOR LAW,   P.A.                               Page 6 of9
              Case 19-12070-LMI         Doc 2      Filed 02/15/19        Page 14 of 62




                                Debtor's Grounds for Recognition

        17.     The January 25,2019. Brazilian Court's Certification of the Appointment Order

explicitly confirmed my powers to ' amonob other thinos
                                                     0 '
                                                         manaoe
                                                             ~
                                                                the affairs of the Debtor in

accordance with the reorganization plan proposed. Further, the Court's Certification of the

Appointment Order expressly confirmed my powers as the foreign representative of the Debtor.

and the ability to initiate ancillary bankruptcy proceedings in the United States.

        18.     As stated above, the expert accountant found numerous issues with the Debtor' s

balance sheets and financial books of the Debtor. The accountant also found transactions with

identifiable negative impact to the Debtor's general finances.           As judicial manager, I am

conducting an analysis of the Debtor, its subsidiaries, and their transactions, to understand the

activities that led to the filing of the Brazilian Proceeding. In particular, as foreign representative,

I need to investigate the business affairs and dealings of the Debtor's principals and other relevant

related companies to, among other things, reconstruct their affairs in relation to the Debtor and the

resulting Brazilian Proceeding.

        19.     Through the investigations of the Debtor I have come to believe that the Debtor

may have had transactions with the US subsidiary of the Conglomerate and other American

companies, directly and through the Debtor's subsidiaries. As a result, I hope to investigate the

nature and extent of any activities undertaken in the United States that may be related to the Debtor

and the assets ofthe Debtor. Also, I need to investigate the possibility that assets in the United

States may have been acquired using funds belonging to the Debtor.

       20.      Thereafter, I would hope to make recoveries to the extent possible, including by

filing proceedings and asserting such proprietary claims as may be available to me in the United




                                       SEQUOR LAW,   P.A.                                    Page 7 of9
             Case 19-12070-LMI           Doc 2      Filed 02/15/19      Page 15 of 62




States. I may also bring claims against any third par1ies that are subject to suit and may have

damaged or owe money to the Debtor in the United States, which may be subject of tracing claims.

       21.       The result of the actions described above, for ·which recognition of the Bankruptcy

Proceedings by this Court, as requested in the Petition, is necessary, will benefit the creditors

because it will permit creditors of the Debtor further recovery opportunities in order to collect on

their claims.

                Compliance with Federal Rule of Bankruptcy Procedure 1007(a)(4)

       22.        I hereby file the following information in accordance with Federal Rule of

Bankruptcy Procedure I 007(a)(4) :

                 a.      I, Otavio de Paoli Balbino de Almeida Lima, am the duly appointed

       '·judicial manager"' in the Brazilian Proceeding and the authorized foreign representative

       of the Debtor.

                 b.     My address is as follows:

                                Rua A lagoas, 1.000, Sl. 1307 - Funcionarios
                                   Belo Horizonte, Minas Gerais, Brazil
                                              CEP 30130-160

                 For purposes of this Proceeding, I respectfully request that any correspondence be

                 sent, in addition to the address provided above, to:

                                        Attn: Gregory S. Grossman
                                            Bruno de Camargo
                                             Sequor Law, P.A.
                                     1001 Brickell Bay Drive, 9th Floor
                                           Miami, Florida 33131

                 c.     The Debtor is not a party to litigation in the United States.

                 d.     No provisional relief is being sought under II U.S.C. § 1519 against any

       particular entity or person at this time. However, the Foreign Representative of the Debtor,



                                        SEQUOR LAW,   P.A.                                Page 8 of9
              Case 19-12070-LMI          Doc 2      Filed 02/15/19    Page 16 of 62




       reserves the right to seek provisional relief as needed.

                                    Section 1515(c) Statement

       23.      I am not aware of any foreign proceedings, as that term is defin ed under section

I 0 I (23) of the Bankruptcy Code, of the Debtor other than this Chapter 15 Petition.



       I, Otav io de Paoli Balbino de Almeida Lima, declare under penalty of perjury under the

laws of the United States of America, 28 U.S.C. § 1746, that I am the representative of the court-

approved reorganization of MARANGONI TREAD LATINO AM ERICA INDUSTRIA E

COMERCIO DE ARTEFATOS DE BORRACHA LTDA, and that, in such capacity, I have the

authority to make the foregoing Declaration; and that the facts and matters alleged and contained

herein are true and correct to the best of my knowledge and belief, based upon my own personal

knowledge of the facts involved and upon my review of the available documents pertaining to

MARANGONI TREAD LATINO AMERICA INDUSTRIA E COMERCIO DE ARTEFATOS

DE BORRACHA LTDA.




Dated this   1!J2_ of February, 20 19

                                                for and on behalf of MARANGONI TREAD
                                                LATINO AMERICA INDUSTRIA E COMERC IO
                                                DE ARTEFATOS DE BORRACHA LTDA
                                                                                          '
                                                company in court-approved reorganization.




                                        S r QUOR LAw, P.A.                               Page 9 of 9
Case 19-12070-LMI   Doc 2   Filed 02/15/19   Page 17 of 62




                                             EXHIBIT “%1”

                    SEQUOR LAW, P.A.
           Case 19-12070-LMI              Doc 2   Filed 02/15/19   Page 18 of 62
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                                                                                           1428




                     CONCLUSION
         On 11/12/2017, I submitted the case file to
         the district judge, to be taken under
         advisement.

                            [signature]
                              Clerk
                                                                                         [illegible handwriting
                                                                                         along right margin]

        WHEREAS ETC.
        MARANGONI TREAD LATINO AMÉRICA INDÚSTRIA E COMÉRCIO

DE ARTEFATOS DE BORRACHA LTDA, with registered address in this city at

Rodovia LMG 800, Km 01, s/n, on this date, 9.14.2017, submitted this PETITION FOR

JUDICIAL REORGANIZATION.

        To start, the petitioner states that it was founded in 1998, has been working in the

tire industry since then, and is duly registered at the Business Registry. The petitioner

asserts that the quality of its services and products afforded it an enviable position on the

market compared to competitors and that it has adopted modern technology that has made

it a leader in its sector and highly regarded by customers, suppliers and lending

institutions. It currently has 117 direct employees and provides 500 indirect jobs, while

also having countless partners. The petitioner asserts that it holds a very important

position in the local and national economy considering the many significant contributions

it makes, in addition to other duties it fulfills.

        The petitioner asserts, as grounds for its petition for judicial petition for judicial

reorganization, that its profits fell due to a drop in sales, fewer customer orders, some

customers’ failure to pay, high
           Case 19-12070-LMI             Doc 2   Filed 02/15/19   Page 19 of 62



taxes, the ensuing costly search for credit in an expensive financial market and new credit

restrictions imposed by suppliers as a result of seeking new payment schedules with
                                                                                                [illegible handwriting
them, making it impossible to fulfill assumed obligations, all as a consequence of the             along right margin]

drastically contracted domestic economy that has affected all sectors since 2014/2015,

even the automobile industry, where it is a player, not to mention the high cost of rubber

– its raw material – on the international market, the decision of some creditors to take

legal action or protest their securities, and even calls for bankruptcy that shook its credit

in the market. The measures implemented have not been enough to overcome the crisis,

and have given rise to the need to urgently process its petition for judicial reorganization

in order to provide it time to rebalance its books and overcome the momentary crisis it

has been facing.

        The petitioner asserts that it is in compliance with all of the requirements

established by Law 11.101/2005 to qualify for reorganization proceedings, having

applied for relief and filed exhibits.

        After the court’s jurisdiction was established for the record, the decision on pp.

306-307 was rendered and published on 10.10.2017, requiring the petitioner to amend its

initial petition and file amended accounting documents, asset lists, income tax returns

filed by the managing director, an amended list of creditors, an amended cash flow

statement, an amended estimate of court costs and a draft of the preliminary costs.

        Once notified, as reflected in pp. 325-339 of the petition and the exhibits

appended thereto, the petitioner partially complied with the notice, asserting that it filed

its interlocutory appeal only in regard to the portion of the decision requiring a list of

assets of foreign partners and documents showing ownership thereof, an analysis of

accounting statements with explicatory notes, and the managing director’s/CEO’s income

tax returns from the last three years.
            Case 19-12070-LMI        Doc 2     Filed 02/15/19     Page 20 of 62                  [handwriting number
                                                                                                 and diagonal line:]
                                                                                                 1429


        In the aforementioned petition, the petitioner asserted that the balance sheets of its

foreign partners already showed their assets, and, thus, it was unnecessary, untimely and
                                                                                                  [illegible handwriting
onerous to prepare and translate a list of assets and supporting documents because it has            along right margin]

already filed the audit report, the translation thereof, and the explicatory notes of the

balances explaining that the foreign partners hold industrial equipment/machinery,

chattels and real property.

        The petitioner asserted that the managing director had already submitted a list of

assets and that it was unnecessary and illicit to require tax returns from the last three

years, and also violates tax and asset confidentiality.

        The petitioner also questioned the legality of requiring the analytical balance

sheets and included a detailed audit report about its balance sheets.

        Lastly, the petitioner maintained that it has complied with all of the requirements

to qualify for judicial reorganization, as it is urgent there be an initial decision to ensure

legal certainty regarding the initial petition, suspend execution and cease judicial

encumbrance of its property and assets, although the petitioner remains available to

provide additional documentation and agrees to provide such documentation within any

given period of at least 30 days.

        A copy of the interlocutory appeal was filed by the petitioner as reflected by p.

1256 et seq.

        The decision ordering amendment of the initial petition and filing of exhibits, pp.

306-307, arose from the court’s preliminary accounting analysis, which noted mistakes

and inconsistencies in the exhibits, which were virtually all cured with the amended

petition.

        After the petition was filed and it was taken under advisement, this Court ordered

an emergency audit on site at the petitioner’s headquarters as reflected on pp. 1386-1387,

which was entrusted to
           Case 19-12070-LMI        Doc 2     Filed 02/15/19      Page 21 of 62



Dr. Otávio De Paoli Balbino (OAB/MG [Minas Gerais Bar Association] 123.643) and

Dr. Cleber Batista de Sousa (CRC/MG Minas Gerais Regional Accountants Board]
                                                                                                 [illegible handwriting
055861/O), pursuant to a special judicial permit.                                                   along right margin]

       As reflected by the report on record, the on-site audit observed the petitioner’s

normal operations and activities, the presence of employees, the existence of industrial

equipment and inventory.

       This is the background of the case.

       DECISION.

       This is a matter of a petition for judicial reorganization filed by a limited liability

company established and registered in 1998, with headquarters and activities in this city

of Lagoa Santa.

       The petitioner proved that it did not commit any of the infractions listed in Art. 48

of the LRF [Lei de Responsabilidade Fiscal (Fiscal Responsibility Act)].

       The petitioner offered the documents required by Art. 51 of the LRF and partially

complied with the decision on pp. 306-307, which required the petitioner to amend its

petition and file additional documentation; thus, the only remaining item is the list of

assets of its foreign partners. Yet, despite filing an interlocutory appeal, the petitioner

filed copies of its managing director’s/CEO’s last three income tax returns, and the

petitioner also filed the audit reports and explicatory notes relating to the aforementioned

condensed balance sheet.

       Regarding compliance with the items in Art. 51 of the LRF, preliminarily, the

following has been confirmed:

       Item I – A reasonable and convincing explanation of the assets and causes of the

financial crisis the company is experiencing was made (initial petition-vol. 01).

       Item II – Accounting statements from the last three fiscal years and a special

statement prepared for the petition were filed, such that the exhibits laying the grounds

for the amended petition
           Case 19-12070-LMI             Doc 2   Filed 02/15/19    Page 22 of 62
                                                                                               [handwriting number
                                                                                               and diagonal line:]
                                                                                               1430
included audit reports and explicatory notes that clarify the balance sheet information.

The petitioner also filed an amended cash flow statement and its projected estimate for

the next five years, which is to be re-ratified after the petitioner’s reorganization plan has
                                                                                                 [illegible handwriting
been submitted (exhibits of initial petition - vol. 01 and vol. 03).                                along right margin]


        Item III – Complete, amended lists of creditors subject to judicial reorganization

were submitted, reflected on pp. 547-585 (exhibits vol. 03, providing a basis for the

amended petition, pp. 325-339).

        Item IV – A list of employees was submitted (exhibits of initial petition - vol. 1).

        Item V – Certificates of good standing at the public business registry, copies of

the company’s articles of incorporation and amendments, and the document appointing

the current CEO/managing director were submitted (initial petition exhibits - vol. 01 and

amended petition exhibits - vol. 04-06).

        Item VII – Investment and bank statement summaries were submitted (initial

petition exhibits - vol. 01).

        Item VIII – Certificates of protest were submitted (initial petition exhibits - vol.

01).

        Item IX – A list of lawsuits to which the petitioner is a party was submitted

(initial petition exhibits – vol. 01).

        Item VI – And a list of the CEO’s/managing director’s assets was submitted, but a

list of assets of two partners is still outstanding and is required for the decision

concerning the amended petition, pp. 306-307 - vol. 02, pursuant to Art. 51, VI, of the

LRF.
           Case 19-12070-LMI          Doc 2     Filed 02/15/19     Page 23 of 62



        The petitioner filed an interlocutory appeal to waive the requirement to submit a

list of assets of these partners, arguing that the assets listed on the balance sheets filed
                                                                                                   [illegible handwriting
                                                                                                      along right margin]
with the initial petition already show these assets.

        However, according to the website of the distinguished TJMG [Tribunal de

Justiça de Minas Gerais (Minas Gerais Court)], this interlocutory appeal was assigned on

10/30/2017 under No. 1.0148.17.006148-2/001, and it appears a waiver has not been

waived. On the contrary, on 11/8/2017, the petitioner was served notice to respond,

within 5 (five) days, regarding the “possible dismissal of the interlocutory appeal in light

of the limiting scenarios provided by Art. 1.015 of the CPC [Código de Procedimento

Civil (Code of Civil Procedure)]/2015.” As such, the decision is in full force and effect.

        Furthermore, the LRF requires a list of partners’ assets of any company

petitioning for judicial reorganization. A condensed balance sheet showing assets does

not identify or detail the assets that constitute the assets of the companies who are

partners with the petitioner, and it cannot replace an itemized list of their assets.

        Generic item names, along with their values, on the balance sheets of these

partners, who also happen to be foreign companies, without a specific description of each

asset, cannot substitute the list required by Law 11.101/05.

        I will explain. If the balance sheet shows real property as an asset, it does not

specify which property it is, its location or its registration number; if vehicles are listed as

an asset, it does not specify which vehicles, year, plate, or vehicle registration number; if

equipment is shown as an asset, it does not show how many or the nature and

characteristics thereof, and so on and so forth for any other assets.

        Therefore, the petitioner’s argument that a balance sheet can replace a list of

partners’ assets does not hold up. Thus, the requirement to file such list
           Case 19-12070-LMI         Doc 2     Filed 02/15/19    Page 24 of 62

                                                                                                [handwriting number
                                                                                                and diagonal line:]
is upheld, and the petitioner, as requested in the amended petition, has 30 (thirty) days to    1431


comply, as shall be made apparent at the end hereof.

       Regarding the CEO’s/managing director’s assets, a list of assets was filed with the
                                                                                                [illegible handwriting
                                                                                                   along right margin]
initial petition but only showed the managing director’s assets in other companies, thus

revealing that the list filed with the initial petition was incomplete and concealed assets

because a managing director of a large company surely has his/her own personal assets.

       Consequently, the reason to require a copy of the last three years’ tax returns filed

with the Treasury Department arose from concealing the CEO’s/managing director’s

assets, given that, when it complied with the notice and filed copies of the tax returns, the

petitioner asked that filing and copies be stricken from the record based on confidentiality

of tax records, which is a request that should be granted, as will be explained further on.

       Furthermore, while the Court understands the presumption of good faith, to help

arrive at a decision, it has ordered an on-site audit, via a special judicial permit, at the

industrial park located in this district in order to observe the company’s actual operations,

employees, facilities, equipment and inventory. This audit was conducted by Dr. Otávio

De Paoli Balbino (attorney), and Cleber Batista de Sousa (accountant), who submitted a

report on the activities, including photographs.

       During the audit, the petitioner’s real, actual operations, employees, equipment

and inventory were observed, albeit with difficulty given the financial crisis it is

experiencing, as described in the initial petition.

       Note that the need for the audit arose, primarily, from the many mistakes and

inconsistencies in the accounting
           Case 19-12070-LMI        Doc 2    Filed 02/15/19      Page 25 of 62




submitted, leading to the order to amend the petition and file new exhibits, with which
                                                                                               [illegible handwriting
the petitioner complied in part, leaving for the start of this proceeding only the list of        along right margin]

assets of its partnering companies, as previously mentioned. Another inconsistency

discovered, which was already reflected in the prior order, was the discrepancy with the

information contained in the MARANGONI petition claiming that 30 employees will

stop being paid (pp. 131-132 of the execution proceedings in case No. 0051624-

05.2017.8.13.0148) and the information contained in the initial petition for judicial

reorganization to the effect that the petitioner has 117 direct employees (p. 05 of the case

file of the court order).

        As regards the documentation required by the LRF, and the verification thereof,

CNJ Ordinance No. 15/2016 was revised, whereby the National Judicial Review Board

(CNJ) recommended that the 1st Business Court of Belo Horizonte (after conducting an

inspection from May 9-13, 2016 – Inspection No. 0001870-51.2016.2.00.0000) conduct a

preliminary investigation prior to granting judicial reorganization, for the specific

purpose of determining whether the documentation submitted is congruent with the

company’s books.

        Later, the TJMG judicial review board revised Recommendation No. 9/2017 (DJE

[Diário do Judiciário Eletrônico (Electronic Judicial Gazette)] (TJMG – Revision

113/2017), which “Recommended producing expert evidence after the petition for

judicial reorganization has been filed in instances where it is not possible to plainly

confirm that the requirements of Art. 51, Law 11.101, of February 9, 2005, have been

met or the maximum time limit for submitting the expert opinion to the court.”

        In this way, while the documentation submitted may seem to be in good order in

the eyes of the court, which does not have a multidisciplinary technical team to examine

the documentation filed by the debtor,
              Case 19-12070-LMI        Doc 2     Filed 02/15/19      Page 26 of 62
                                                                                                  [handwriting number
                                                                                                  and diagonal line:]
                                                                                                  1432
it is appropriate to appoint an expert to provide an initial expert opinion.

        That fact is, although TJMG Recommendation No. 9/2017 calls for an expert

analysis prior to granting judicial reorganization, this court is aware that the petitioner has [illegible handwriting
                                                                                                     along right margin]

suffered several asset freezes that may prevent it from conducting its normal business

activities.

        Given that the petition for judicial reorganization was assigned on 09/14/2017,

i.e., nearly two months ago, placing the company in a vulnerable position, it does not

seem reasonable to require the petitioner to wait through any further proceedings prior to

granting reorganization.

        The petitioner has an undeniable social function in the district and, although it is

experiencing alleged temporary economic difficulties, it is a large industrial business that,

when operating, provides direct and indirect jobs, not to mention countless business

partners, in addition to circulating income and generating tax income for the public good,

not to mention the fact that, as part of the tire manufacturing sector, it has always

supplied and met a large demand for such products and services nationwide.

        The petitioner’s alleged temporary economic and financial crisis may be mitigated

by granting judicial reorganization, as it involves suspending executions of creditors

subject to reorganization, involves suspending the effects of protested instruments subject

to reorganization, involves the possible novation of debts subject to reorganization,

assuming the proposed plan is approved by creditors, which might help the petitioner

resume business, lines of credit and billing, so that it may
            Case 19-12070-LMI         Doc 2    Filed 02/15/19    Page 27 of 62


gradually increase and maintain production, as intended by Art. 47 of Law 11.101/05.

       Thus, despite the need to provide documents and information in a timely manner,

it is appropriate to grant judicial reorganization.
                                                                                            [illegible handwriting
       THEREFORE, in light of the foregoing and the principles governing this court,           along right margin]


JUDICIAL REORGANIZATION IS GRANTED for Marangoni Tread Latino

América Indústria e Comércio de Artefactos de Borracha Ltda, CNJP [Business ID]

02.551.474.0001-57, registered office at Rodovia LMG 800, Km 01, s/n, Lagoa

Santa/MG. Accordingly, pursuant to Art. 22, 51 and 52 of Law 11.101/2005:

       a) The law firm of PAOLI BALBINO & BARROS SOCIEDADE DE

ADVOGADOS, CNPJ NO. 22.714.890/0001-36, duly represented by Dr. Otávio De

Paoli Balbino OAB/MG 123.643, address at Rua Alagoas 1000, sl. 1303, Funcionários,

Belo Horizonte/MG, contact (31) 3656-1514, email contato@pbbadvogados.com.br, is

APPOINTED as a trustee.

       b) DRAFT an agreement to be signed within 48 hours, should the appointment be

accepted.

       If accepted, the trustee is ORDERED to create an Internet website for the judicial

reorganization so as to make the entire case file available to the interested parties

electronically. The web address shall be recorded in the case file.

       c) In accordance with Art. 24 of the LRF, the trustee’s remuneration shall be set

based on the debtor’s ability to pay, the degree of complexity of the work performed and

prevailing market rates, and may be set up to 5% of the liabilities subject to judicial

reorganization (§1).
              Case 19-12070-LMI      Doc 2       Filed 02/15/19          Page 28 of 62

                                                                                            [handwriting number
       n) SERVE NOTICE to the petitioner to submit its monthly balances on the 10th         and diagonal line:]
                                                                                            1433


day of month, with any clarifications and other documents the expert or trustee may come

to request.

       o) Regarding the decision ordering MARANGONI S. P. A. and EURORUBBER

S. P. A. to submit a list of assets, including assets outside Brazil, along with official

documentation showing ownership and translations thereof, notice is ORDERED served

to the petitioner to submit such documentation within the 30-day (thirty) period

established for such purposes, as requested by the petitioner in the initial petition.

       p) The tax returns on pp. 342-363 of the case file are ORDERED stricken from

the record and copies thereof shall be filed in a safe deposit box in the clerk’s office

under seal on grounds of tax confidentiality.

       SERVE NOTICE.
       Lagoa Santa, November 13, 2017.

                                          [signature]

                   CARLOS ALEXANDRE ROMANO CARVALHO
                              COURT JUDGE

                                            DATE
                              on this 14th day of       11      , 2017

                                  [remainder of text is illegible]
             Case 19-12070-LMI          Doc 2   Filed 02/15/19    Page 29 of 62
                                                                                          [handwriting number
                                                                                          and diagonal line:]
                                                                                          1435




                   CONCLUSION
        On 11/14/2017, I submitted case file to the
        district judge, to be taken under advisement.

                          [signature]
                            Clerk
                                                                                            [illegible handwriting
                                                                                               along right margin]
       CASE NO. 17/6148-2

       WHEREAS ETC.

       In light of the wording of the certificate on p. 1434, I see that, in fact, the previous

decision (pp. 1428-1433) is incomplete.

       Thus, to supplement the dispositive portion of this decision, this court FINDS the

following:

       THEREFORE, in light of the foregoing and the principles governing this court,

REORGANIZATION IS GRANTED for Marangoni Tread Latino América

Indústria e Comércio de Artefactos de Borracha Ltda, CNJP [Business ID]

02.551.474.0001-57, registered office at Rodovia LMG 800, Km 01, s/n, Lagoa

Santa/MG. Accordingly, pursuant to Art. 22, 51 and 52 of Law 11.101/2005:

       a) The law firm of PAOLI BALBINO & BARROS SOCIEDADE DE

ADVOGADOS, CNPJ NO. 22.714.890/0001-36, duly represented by Dr. Otávio De

Paoli Balbino, OAB/MG 123.643, address at Rua Alagoas 1000, sl. 1303, Funcionários,

Belo Horizonte/MG, contact (31) 3656-1514, email contato@pbbadvogados.com.br, is

APPOINTED as a trustee.
            Case 19-12070-LMI       Doc 2     Filed 02/15/19     Page 30 of 62



       b) DRAFT an agreement to be signed within 48 hours, should the appointment be

accepted.                                                                                     [illegible handwriting
                                                                                                 along right margin]
       If accepted, the trustee is ORDERED to create an Internet website for the

reorganization so as to make the entire case file available to the interested parties

electronically. The web address shall be recorded in the case file.

       c) In accordance with Art. 24 of the LRF, the trustee’s remuneration shall be set

based on the debtor’s ability to pay, the degree of complexity of the work performed and

prevailing market rates, and may be set at up to 5% of the liabilities subject to judicial

reorganization (§1).

       Regarding the ability to pay, note that, even though it is in crisis, the petitioner

has a monthly revenue of approximately R$ 4,000,000.00, with a gradually improving

outlook forecasting net profits of R$ 5,700,000.00 to R$ 6,600,000.00 over the next five

years, as reported in the annual cash flow statement on p. 57 and R$ 2,100,000.00 to R$

2,600,000.00 over the next five years, based on the adjusted cash flow on p. 535.

       Moreover, it is understood that this judicial reorganization is highly complex and

will have a big impact, since it involves the subsidiary of a multinational corporation

having business and trade relationships with other companies in Brazil and abroad, which

may require the trustee to eventually analyze foreign documents (which is already

reflected on the record, e.g. p. 466 et seq.) and extensively examine foreign business

groups and operations.

       Lastly, the reported liabilities subject to judicial reorganization are over R$ 58

million, and there are approximately 850 creditors, which will require
            Case 19-12070-LMI         Doc 2     Filed 02/15/19      Page 31 of 62

                                                                                              [handwriting number
                                                                                              and diagonal line:]
a great undertaking and effort from the trustee when verifying the claims.                    1436


         In light of this, the trustee’s remuneration is SET at 4% of the liabilities subject to

reorganization determined to be valid after the claims verification phase, with monthly
                                                                                                   [illegible handwriting
advance payments in the amount of R$ 20,000.00 for the first 3 months and R$ 30,000.00                along right margin]


for the months thereafter, subject to subsequent further increase at the court’s discretion if

determined to be viable, to be paid on the 5th day of each month. The first payment is due

on 12/05/2017 and shall be deposited directly into a bank account of the trustee’s choice.

Record of the monthly payments shall be added to the case file.

         d) Given the large number of creditors, and considering the initial costs the trustee

will incur as part of the judicial reorganization process, the petitioner is ORDERED to

make an advance payment of R$ 10,000.00 directly to the trustee for expenses incurred to

issue letters to creditors and any other necessary expenses, with timely accounting for

such expenses.

         e) Given the complexity of the case and the volume of documents submitted, Dr.

Cleber Batista de Sousa, CRC/MG 055861-O, with address at Av. Abrahão Caram, 820,

cj.      1010,    Belo     Horizonte/MG,        contact     at    (31)     99324-0568       and

cleber@batistaeassociados.com.br, is APPOINTED as an expert accountant for 2 (two)

different tasks, namely:

         e.1) Expert accountant task one: Perform an initial expert analysis (that has a

scope in accordance with Recommendation No. 9/2017 by the TJMG judicial review

board and CNJ Ordinance No. 15/2016 of National Judicial Review Board but does not,

given that an expert analysis is already underway as part of the reorganization granted,

hinder
           Case 19-12070-LMI          Doc 2     Filed 02/15/19     Page 32 of 62



        the petitioner’s activity) the scope of which shall be: a) verify whether the

exhibits submitted by the petitioner are consistent with the company’s books; b) examine

the operations of the other companies in the petitioner’s business group; c) compare the
                                                                                               [illegible handwriting
list of creditors with the company’s accounting statements and books; d) check the                along right margin]


liquidity of the reported assets.

        A period of 60 (sixty) days is SET to complete the initial expert tasks, which may

be extended at the expert’s request for good cause, given the complexity and eventual

volume of information.

        For this task, the expert’s fees are SET in the amount of R$ 20,000.00, which

shall be deposited at the court within 48 hours so that the expert may start this task

immediately. The initial costs are subject to a 50% increase with special permission from

the court after the petitioner makes the initial payment.

        The rest of the expert’s fees shall be paid after the expert’s report has been

submitted and the court has had time to raise any questions regarding it.

        e.2) Expert accountant task two: Monitor and assist with the reorganization

process on a monthly basis by analyzing monthly balances, examining bookkeeping

inherent to the petitioner’s activities, verifying claims and preparing lists/tables of

qualifying creditors.

        For this task, the expert’s fees are SET in the amount of R$ 6,000.00, which shall

be paid directly to the expert accountant in an account of his choice on the 5th day of each

month, the first of which shall be due on 12/05/17.

        SERVE NOTICE to the expert accountant and prepare an agreement for signing

and    incorporating    into    the   record,    should     he   accept   the   appointment.
              Case 19-12070-LMI     Doc 2     Filed 02/15/19   Page 33 of 62


                                                                                             [handwriting number
        f) Documents (accounting or otherwise), books, or asset, business and contract       and diagonal line:]
                                                                                             1437

information may be requested or ordered at any time either by the judge or the trustee,

and the trustee is henceforth authorized to do so pursuant to Art. 51, § 1 and Art. 22, I,

“d,” and II, “a” of Law 11.101/05, regardless of any ancillary steps taken of its own         [illegible handwriting
                                                                                                 along right margin]

initiative.

        g) The petitioner is RELEASED from obtaining tax clearance certificates so it

may pursue its activities, unless otherwise required by law (REsp. 1.658.042 and

Precedent 55 of Business Law Seminar No. 1).

        h) All lawsuits and executions against the petitioner are ORDERED suspended,

save those exempted by law, for 180 (one hundred eighty) business days (Art. 6, § 4 of

the LRF), subject to Art. 219 of the CPC/2015 as understood by most courts. On this

topic: TJMG, Interlocutory Appeal 1.0000.17.030507-2/002, Reporting Judge: Hon.

Áurea Brasil, 5TH CIVIL DIVISION, judgment on 08/10/0017, published in case law on

08/17/2017; TJSP [Tribunal de Justiça de São Paulo (Sao Paulo Court)], Interlocutory

Appeal 2147893-05.2016.8.26.0000, Reporting Judge Francisco Loureiro, Judgment on

03.29.2017, 1st Business Law Division, Published on 05.29.2017; TJSP, Interlocutory

Appeal 2210315-16.2016.8.26.0000, Reporting Judge: Hamid Bdine, Judgment on

03.16.2017, 1st Business Law Division, Published on 03.16.2017).

        i) SERVE NOTICE of this decision to the Public Prosecutor’s office and to all

federal, state and municipal government treasuries where the petitioner has registered

offices or subsidiaries.

        j) An official letter is ORDERED remitted to the Business Registry

communicating the information contained in this decision so that they may write the note

“in reorganization” on the petitioner’s record.
           Case 19-12070-LMI            Doc 2     Filed 02/15/19          Page 34 of 62


       k) The clerk is ORDERED to publish notice in accordance with Art. 52, §1 of the

LRF, containing a summary of the initial petition, the contents of this decision and an

amended list of creditors on pp. 547-585.

       l) The debtor is ORDERED to submit the amended list of creditors using digital

media in editable .xls format to the trustee and the court clerk.

       m) Henceforth, the petitioner is ADVISED that, during reorganization, it is barred

from    selling,   leasing    or    encumbering          assets,      except   inventory,   selling,

assigning/transferring company shares or changing CEO/managing director without the

court’s prior knowledge and consent, and making advance or priority payments to any

creditors to the detriment of others.

       n) SERVE NOTICE to the petitioner to submit its monthly balances on the 10th

day of each month, with any clarifications or other documents the expert or trustee may

come to request.

       o) Regarding the decision ordering MARANGONI S. P. A. and EURORUBBER

S. P. A. to submit a list of assets, including assets outside Brazil, along with official

documentation showing ownership and translations thereof, notice is ORDERED served

to the petitioner to submit such documentation within the 30-day (thirty) period

established for such purpose, as requested by the petitioner in the initial petition.

               p) The tax returns on pp. 342-363 of the case file are ORDERED stricken

from the record and copies thereof shall be filed in a safe deposit box in the clerk’s office

under seal on grounds of tax confidentiality.

       SERVE NOTICE.
       Lagoa Santa, November 14, 2017.


                                           [signature]
                                CARLOS ALEXANDRE ROMANO CARVALHO
                                           COURT JUDGE


                                             DATE
                              on this 14th day of        11      , 2017

                                   [remainder of text is illegible]
          Case 19-12070-LMI           Doc 2    Filed 02/15/19   Page 35 of 62




              CONCLUSAO
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        autos conclusos ao /rJuiz da Comarca.


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      VISTOS ETC.
                                                                                  j/
      MARANGONI TREAD                         LATINO AMERICA INDUSTRIA
                                                    E
COMERCIO DE ARTEFATOS DE BORRACHA LTDA, com sede nesta ' /
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cidade :i Rodovia LMG 800, Km OJ, s/ n., na data de 14.9.2017 distribuiu o          _.
presente pedido de RECUPERA(:AO JUDICIAL.                                         1~~
      Na inicial a requerente informa ter sido fundada em 1998 e que atua na '
indUstria pneumatica desde entao com devido registro na Junta Comercial.
Alega que a qualidade de seus servi<;os e produtos lhe renderam posi<;ao
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inve·ravel
    .      no mercado frente a ~grandes clientes e que adota moderna tecnologia
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que a tomou referencia no setor, g,ozando do melhor conceito junto a clientes,           ~

fornecedores e organizay6es de credito, possuindo atualmente 117 empregados
diretos, proporcionando outros 500 empregos indiretos, alem de deter
inUmeros parceiros. Alega que se posiciona com grande import8.ncia no
                                                                                         \
cemlrio econ6mico local e nacional diante de consider3.veis e diversificados
tributes que recolhe, alem de outros encargos.
      Alega a requerente, como causas do pedido de recuperac;:iio judicial, que
suas receitas foram reduzidas em razao da reduc;:ao das vendas, reduc;:ao dos
pedidos dos clientes, inadimplencia de alguns clientes, custo tributario
          Case 19-12070-LMI     Doc 2   Filed 02/15/19   Page 36 of 62



e]evado, consequente busca de cr6dito caro no mercado financeiro, restriyOes
de cr6dito novo par fornecedores por ter buscado repactuayao com estes, de
fonna a nao mais poder arcar com compromissos assumidos, tudo como
reflexo da not6ria retrayao da economia nacional que atingiu todos os setores
des de 2014/2015, inclusive o setor automobilistico com o qual atua, se
contar a alta do preyo da bonacha -sua materia prima- no mercad
internacional, recrudescimento de alguns credores que optaram par ajuizar
ayOes ou protestar seus titulos, e ainda pedidos de fa!encia que abalaram de
vez seu credito no mercado, nao tendo sido suficientes as medidas que adotou
para superar a crise, estando necessitando de urgente processamento do seu
pedido de recuperayao judicial, cujo deferimento proporcionani o reequilibrio
de suas contas e superayilo certa da crise momentfrnea que vem enti-entando.
      A requerente alega que atende todos os requisites exigidos pela L~i (;
11.101/2005 para obter o deferimento do processamento da recuperayao                 jl[
judicial. tendo requerido o provimento do pedido ejuntado documcntos.
      Ap6s certidao nos autos quanta a prevenyao do Jufzo foi prolatada a
decisao de f.306/307, publicada em 10.10.2017, em que exigiu-se da
requerente a emenda da inicial, juntada e regularizayilo de documentos
contcibeis, relayfro de bens, declarayao lR do gestor, retificac;:ao da relayao de
credores, retificayao do relat6rio de fluxo de caixa, retificac;:ao do valor da
causae do preparo das custas previas.                                                      \
      Intimada, a requerente, conforme petiy§.o de f1.325/339 e documentos
que a instrui, atendeu parte da intimayiio, alegando que aviou agravo de
instrumento apenas em relay§.o a parte da decisao que exigiu relayiio de bens
das s6cias estrangeiras e documentos que provam a propriedade, que exigiu
demonstra<;Oes cont:lbeis analiticas e com notas explicativas) e que ex1gru
declarayao de IR dos tres Ultimos anos do administrador/gestor.
          Case 19-12070-LMI     Doc 2   Filed 02/15/19   Page 37 of 62


      Na referida petic;ao a requerente alegou que os balanyos das s6cias /
estrangeiras ja revelam os ativos delas, sendo dispensaveL demorada e one77a
a confecyao de relac;:iio de bens com seus comprovantes e com traduc;:ao, fendo
que junta laudo de auditoria traduzido e com notas explicativas sabre tais
balanyos, esclarecendo que as s6cias estrangeiras possuem im6veis, m6veis e
m8.quinas/equipamentos de indUstria.
      Alegou que o gestor j8. havia apresentado sua relayao de bens, sendo
dispensivel e ilfcita a exigencia de declarac;ao de IR dos tres Ultimos anos.
inclusive par quebrar sigilo fiscal e patrimonial.
      A requerente tambem questionou a legalidade da exigtncia de balam;:os
analiticos e juntou laudo detalhado de auditoria sabre seus balan<;os.
      For tim, sustentou que atende todos os requisites para obter o
processamento da recupera<;<lo judicial, sendo urgente a decisao inicial para
que haja seguranya jurfdica em relayao ao pedido inicial, suspensao de
execw;Oes, cessayao de constriyao judicial de seus bens e ativos, ainda que
fique pendente a juntada de algum documento, comprometendo-se a
apresent<i-los em prazo a ser concedido de ao menos 30 dias.
      C6pia do recurso de agravo de instrumento foi juntada pela requerente
confonne f. 1256 e seg.
      A decisao que ordenou a emenda da inicial e juntada de documentos, de
fl. 306/307, decorreu de exame cont<ibil previa por parte do juizo, sen do que
os equivocos e inconsistencias nos documentos foram quase que todos sanados
com a emenda da inicial.
      Conclusos os autos ap6s a juntada da petiyao da requerente, este Juizo
determinou a realizayao de uma diligencia de vistoria local e urgente na sede
da requerente confmme despacho de fl. 1386/1387. cuja fun<;ao foi delegada
          Case 19-12070-LMI     Doc 2    Filed 02/15/19   Page 38 of 62



aos Drs. Otavio De Paoli Balbina (OAB/MG 123.643) e Cleber Batista de
Sousa (CRC/MG 055861/0), atraves de especi!lco alvanijudicial.
      Na referida diligencia de vistoria no local da sede, confonne relat6rio
juntado aos Autos, constatou-se o regular funcionamento e as atividades d
requerente, a presen<;a de empregados, a existencia de equipamentos d
indUstria e de estoque.
      E o relat6rio.
      DECIDO.
      Trata-se de pedido de recupera<;ao judicial formulado por sociedade f         J
empres:lria par cotas de responsabilidade limitada estabelecida e registrada
desde 1998, com sede e atividades nesta cidade de Lagoa Santa.
                                                                                    f.
      A requerente comprovou que nao incOITe em nenhum dos proibitivos              ~
enumerados nos incisos do art. 48 da LRF.
      A requerente ofereceu as documentos exigidos nos incises do art. 51 da
LRF, tendo em vista que atendeu em pmie a decisao de t1.306/307 que exigiu
emenda da inicial e documentos, sendo que apenas resta a relac;ao de bens das
s6cias estrangeiras eis que, embora a requerente tenha aviado recurso de
agravo de instrumento, mesmo assim juntou nos autos c6pia das 3 Ultimas
declaray6es de IR do administrador/gestor, assim como juntou laudos de                   \
auditorias e notas explicativas relativos aos balanc;os sinteticos anteriores.
      Quanta ao atendimento dos incisos do mi. 51 da LRF, a principia,
                                                                                         \
verifica-se que:
      Inciso I - Foi feita exposiyao razoavel e convincente da situayao
patrimonial e das causas da crise financeira que atravessa (inicial-voL 01 );
      lnciso II - Foram apresentadas demonstrayOes contabeis dos 3 Ultimos
exercicios sociais e do especial levantado para instruir o pedido, sen do que nos
documentos que instruem a petiyao de emenda da inicial foram juntados
           Case 19-12070-LMI         Doc 2   Filed 02/15/19   Page 39 of 62   /LJ 'JO .·


tam bern tendo sido juntado novo relat6rio retificado do fluxo de caixa       sua
projet;:ao estimada para cinco anos, a ser re-ratificado quando da apresentac;:ao
concreta do plano de recuperac;:ao judicial, segundo a requerente ( documentos
da inicial - vol. 0 I e vol. 03 );
       Inciso Ill - Foram apresentadas listas completas e retificadas de
                                                                                n          )
                                                                                           '


credo res sujeitos    a   recuperayao judicial, agora constante das f. 54 7/58 i
(documentos val. 03 que instruiram a emenda da inicial de f. 325/339);
       Inciso IV- Foi apresentada relat;ao dos empregados (documentos da
inicial -val. 01 );
       Inciso V - Foram apresentadas ceiiidOes de regularidade no registro          ~~
pUblico de empresas e c6pias de contrato social e suas alteray6es, assim como
documento de nomeat;ao do atual administrador/gestor ( documentos da inicial
- vol. 0 I e documentos da emenda da inicial - vol. 04 ate 06);
                                                                                    I
       Inciso VII - Foram apresentados extratos das contas banc<irias ou de
investimentos (documentos da inicial - vol.O I);                                    (
       Inciso VIII - Foram apresentadas certid6es de protestos cambi<irios (}
(documentos da inicial- vol.Ol );
       Inciso IX - Foi apresentada relayiio de ay6es judiciais em que a
requerente   e parte (documentos da inicial - voi.O 1); e                                      1


       Jnciso VI- Foi apresentada relayiio de bens do administrador/gestor mas                 \
a rela<;5o de bens das duas sOcias ainda est:i pendente, sendo exigida na
decisao para emenda da iniciaL de fL 306/307- vol. 02, con forme art. 51, VI
da LRF.
          Case 19-12070-LMI       Doc 2   Filed 02/15/19   Page 40 of 62



      A requerente recon·eu v1a agravo de instrumento para ser eximida da
apresentat;:ao de tal relac;:iio de bens das s6cias 1 alegando que os ativos
indicados nos balanc;:os del as, juntados com a inicial, j8. revel am tais bens.
      Contudo, conforme pesquisa realizada no site eletr6nico do egregio
THviG, referido recurso de agravo de instrumento foi distribufdo err('
30/l 0/20 I 7, recebendo o n' de 1.0148.1 7.006148-2/00 I, nao constando           qu~   /
tenha sido deferido o pedido de efeito suspensive. Ao contrUrio,                   e~        ·
0811112017 a agravante fora intimada para se manifestar acerca no prazo de
(cinco) dias sabre "passive! nc7o cabimento do recurs a de agravo de
                                                                                                 ;_
instrumento. diante das hip6teses taxativas previstas no art. 1.015 do
CPC/201 5 ". Portanto, a decis3.o encontra-se vigente.                                   I;
                                                                                         f
      Ademais, a LRF exige a relayao de bens dos socJos da sociedade que
requerer recuperayao judicial. A apresentayao de balam;:o sintetico quanta aos
ativos e que nao identifica ou detalha os bens que com pOem cada item do ativo
de tais empresas que sao as s6cias da requerente niio substitui a relayiio de
bens individuais de las.
      A indicayao generica no balanyo de tais s6cias, que tambem sao
sociedades empresUrias estrangeiras, de itens do ativo e seu valor, sem
especificayao de cada bern, nao pode substituir a relayao de bens exigida pela
Lei 11.101/05.
       Explico. Se no balanyo consta do ativo a rubrica im6vel, ali nao estU
especificado qual im6vel: sua localizac;ao e matrfcula; se consta do ativo a
rubrica veiculos ali nao estao especificados quais veiculos, ana, placa,
Rena van; se consta do ativo a rubrica equipamentos ali nao consta quantos sao
ou a especie e caracterfsticas deles, e assim par diante quanta a outros bens.
       Portanto, nao se sustenta a alegayao ou pretensao da requerente de que o
balanyo substitua a relac;iio de bens das s6cias, cuja juntada exigida seja
            Case 19-12070-LMI    Doc 2   Filed 02/15/19     Page 41 of 62
                                                                                   I~ 31
mantida, ficando fixado o prazo de 30 (n·inta) dias para tanto, confonne pedid
fonnulado pela reguerente na emenda da inicial, tal como constara ao fi a!
desta.
         No tocante aos bens do administradorlgestor, a relayiio de bens constou
da inicial mas apenas quanta a participayao daquele gestor em outra
sociedades empres8.rias, revelando, destarte, que a relac;:ao que constou da
inicial estava incompleta e ocultou bens pais urn gestor de grande empresa,
par ceria, possui bens proprios particulares.                                          ~
         Logo, a raziio da exigencia da c6pia das 03 Ultimas declaray6es de bens       /2
perante     a   Receita   Federal    decorreu    da    oculta<;iio   de     bens
administrador/gestor, sendo que a requerente atendeu a intima<;ao e juntou as
c6pias de tais declarac;:Oes de I~ nos ~u~os, pedindo o ~rquivamento da c6pia e
                                                                                       1
                                                                                   do ');


                                                                                       !
desentranhamento dos autos tace sJgilo fiscal, ped1do este que
deferido, confonne detem1inat;8.o que constara ao final desta.

 .
                                                                            deve ser


         Po~ outro_ !ado, conquamo _cedi<;o o ~ntendime~to da presu~<;ilo da boa
                                                                                       f
fe, para 1-onnayao de sua convrcyao este JUizo determmou dihgencw previa de
vistoria in loco par pessoas designadas, via alvara judicial, no parque
industrial situado nesta Comarca, vistoria a constatar efetivo funcionamento da
empresa, existencia de empregados, instalay5es, equipamentos e estoques. Tais
diligencias foram realizadas pelos Drs. Otavio De Paoli Balbina (advogado) e
Cleber Batista de Sousa (contador), resultando em relatorio de atividades e
laudo fotografico acostado aos autos.
         Na vistoria constatou-se o real e efetivo funcionamento da requerente,
seus empregados, indUstria e estoques, embora com dificuldades diante da
crise financeira enfrentada, exposta na petic;ao inicial.
         Note-se que a necessidade de vistoria decotTeu primeiramente da
constatayao     de   diversos equivocos e inconsistencias na contabilidade
           Case 19-12070-LMI      Doc 2   Filed 02/15/19    Page 42 of 62



apresentada, ensejando a ordem de emenda e de juntada de novas documentos,
o que fbi atendido em parte pela requerente, restando para este infcio de
processo somente a relayilo de bens das empresas s6cias, como ja exposto
acima. Outra inconsistencia apurada ja fora demonstrada no despacho anterior,
qual   seja,   a divergencia entre a informar;Jo contida na petir;ao da
fviARANGONI de que 30 funcion:lrios deixarJo de receber sua remunerar;ao
(fi. 131/132 dos autos da execuyilo den' 0051624-05.2017.8.13.0148) e a
infonnar;ilo contida na petir;iio inicial do pedido de recuperayilo judicial no
senti do de que a requerente possui 117 funcionarios diretos (fi. 05 dos autos da
RJ).                                                                                   1
       Ainda no que tange     adocumentayilo exigida pela LRF e a verificar;ilo de
sua veracidade, foi editada Portaria CNJ n' 15/2016, instrumento pelo qual a           /
CmTegedoria Nacional de Justir;a recomendou ao jufzo da lu Vara Empresarial
de Bela Horizonte (apos realizayilo de inspeyao entre 09 e 13 de maio de 2016
- lnspeyilo n' 0001870-51.20 16.2.00.0000) a adoyiio de peri cia previa ao
deferimento      do    processamento      da     recuperac;:Jo   judicial,   visando
essencialrnente a apurar se a documentayilo apresentada esta de acordo com os
livros cont<ibeis da empresa.
       Posterionnente foi editado pel a corregedoria do TJiviG a Recomendayao
n' 9/2017 (DJE TJMG- Ediyilo 113/2017) onde "Recomenda a produyilo de
prova pericial previa ao pedido de recuperayilo judicial, nos casas em que mlo
for passive! verificar, de plano, os requisitos do art. 51 da Lei 11.10 I, de 9 de
fevereiro de 2005, bern como sabre        0    prazo maximo para apresentayao do
laudo peri cia! ao j ulzo".
       Desta forma, embora aparentemente estar em ordem a documentar;ilo
aprescntada aos olhos do jufzo, que nao disp6e na vara de equipe tecnica
multidisciplinar para analise da documenta<;ilo juntada pela empresa devedora.
           Case 19-12070-LMI   Doc 2   Filed 02/15/19   Page 43 of 62
                                                                                /43l
se faz a necessana nomeayao de perito para a realizayao de laudo
inicial.
       E que, em bora a Recomendat;iio n' 9/2017 do TJMG determi e a
realizac;:ao de pericia antes do deferimento do processamento da recuperayao
judicial, e sabido par este juizo que a requerente vern sofrendo bloqueios
diversos, o que pode prejudicar o regular funcionamento de suas atividades.
       Tendo sido o pedido de recuperat;ao judicial distribuido em 14/09/20 I
e, porianto, hU quase dais meses, o que coloca a empresa em situac;:iio de
vulnerabilidade, nao se revela razoUvel exigir que a requerente aguarde a
realizac;:ao de mais uma diligEncia antes do deferimento do processamento da
recuperat;ao judicial.
       A sociedade empresUria requerente exerce inegivel func;:ao social na
Comarca, sendo grande indUstria aqui instal ada que, embora com dificuldade
                                                                                    !
financeira que alega temporiria, esti em funcionamento,             proporciona
empregos diretos e indiretos, fora os parceiros comerciais inUmeros, a!em da
                                                                                    /1
                                                                                    I

circulac;:ao de renda que faz gerar, recolhimento de tributes a bern do interesse
pUblico, isto sem contar que seu ramo de atuac;:ao com produtos     pneumatico~

sempre abasteceu ou atendeu a grande demanda do produto e servic;:os
inerentes a nfvel nacional.
       A alegada crise econ6mica e financeira temporUria da requerente podenl
ser mitigada com o deferimento do processamento da recuperac;:ao judicial,
porquanto tal decisilo implica suspensilo de execw;Oes de credores sujeitos     a
recuperac;:ao, implica suspensao dos efeitos dos protestos de creditos sujeitos a
recuperac;iio, implica possfvel novac;:ao de dlvidas sujeitas a recuperayao, caso
o plano a ser apresentado seja aprovado em assembleia de credores, medidas
que podem proporcionar a retomada dos neg6cios, retomada de linhas de
creditos e do faturamento da requerente, de fonna a atingir seu real
             Case 19-12070-LMI       Doc 2    Filed 02/15/19   Page 44 of 62



soerguimento e a manutem;:3o de tal fonte produtora, tal como objetiva a Lei
11.101/05, a teor de seu art. 47.
       Cabivel,     portanto,     independentemente de         oportuna ex1gencw de
documentos e informac;Oes, o deferimento do processamento da recuperac;ao
judicial.                                                                         (\
       ISTO POSTO, considerando tudo quanta foi vista e os principios \qu~
regem o instituto, DEFIRO 0 PROCESSAMENTO DA RECUPERA<;:A
.JUDICIAL de IVIarangoni Tread Latino America Industria e Comercio d
                                                                                         y
Artefatos de Borracha Ltda, CNPJ 02.551.4 74.0001-57, sede na Rodovia
LiVIG 800, Km 01, sin., Lagoa Santa/MG. Em consequencia, com base nos

art. 22, 51 e 52 da Lei II. I 0112005:
       a) NOIVIEIO como administradora judicial PAOLI BALBINO &
BARROS SOCIEDADE DE ADVOGADOS, CNPJ n' 22.714.890/0001-36,,
devidamente representada pelo Dr. Otavio De Paoli Balbina, OAB/MG
123.643, com endere<;:o na Rua Alagoas I 000, sl. 1303, Funcionarios, Bela
Horizonte/MG,             e         cantata        (3 1)       3656-1514,        email
conta toU])p bbad vo !!.ndos.com. [)['.
       b) LAVRE-SE o competente termo de compromisso a ser assinado no
prazo de 48 horas, caso aceite a nomeayao.
       Aceito o encargo, DETERJVIINO que a administradora judicial erie site
na intemet para disponibilizac;ao integral dos autos da recuperac;ao judicial de             \
forma eletr6nica aos interessados, inf01mando nos autos o endereyo eletr6nico.
       c) No que tange     a remunerac;iio da administradorajudicial, confonne art.
24 da LRF, sera fixada considerando a capacidade de pagamento do devedor, o
grau de complexidade do trabalho realizado e os valores praticados no
mercado, podendo ser fixado em ate 5o/o do passivo sujeito              a recuperac;ao
judicial    C!W).




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          Case 19-12070-LMI        Doc 2   Filed 02/15/19   Page 45 of 62
                                                                                 ilj 'l.J   /

        n) INTil\'IE-SE a requerente para apresentar seus balanr;os mensais
 todo dia 10 de cada mes, com os esclarecimentos e demais documentos        qy   o
 peri to ou o administrador judicial vie rem a solicitar.
        o) Quanta a decisao que detenninou a apresenta<;ao de rela<;ao de bens
 da MARANGONI S. P. A e EURORUBBER S. P. A, incluindo-se bens
 existentes fora do Brasil, acompanhado de documento oticial devidamente
 traduzido que comprove a titularidade, DETERMINO a intima<;ao da
 requerente para que apresente referidos documentos, ficando fixado o prazo de
 30 (trinta) dias para tanto, confonne pedido formulado pela requerente na
 emenda da inicial;
        p) DEFIRO o desentranhamento das dec!ara<;oes de IR nos autos as tl.
 342/363, com consequente arquivamento das c6pias no cafre do cari6rio, face
 sigilo fiscal.
        INTIMEM-SE.
        Lagoa Santa, 13 de novembro de 2017 .



...--------CARLOS ALEXANDRE ROMANO CARVALHO
                       .JUIZ DE DIRE!TO

                       _..



                        ,.,
                             '   ----;r-----
            Case 19-12070-LMI          Doc 2      Filed 02/15/19   Page 46 of 62




                 CONCLUSAO
                                                                                      /
         Aos     /'-z ftr!lrz
         autos conclusos ao     ·1tiz   fayo      estes
                                          da Comarca.



                          . I
                        Secretar'ia


                          ''
                         \
       AUTOS W.        17/fi.!./8-2.
        VISTOS ETC.
       Tendo em vista o teor da certidiio de fl. 1434, verifico que, de fato, a
decisao anterior (fl. 1428/1433) encontra-se incompleta.                                       1
       Assim      sendo        e   a   fim   de    complementar      a   referida   decisao,   I
D ETERJ\'IINO que no dispositivo passe a con star o seguinte:
       ISTO POSTO, considerando tudo quanta foi vista e os principios que
regem o institute, DEFIRO 0 PROCESSAMENTO DA RECUPERA<;:AO
JUDICIAL de Marangoni Tread Latino America Industria e Co mercia de
Artefatos de Borracha Ltda, CNPJ 02.551.474.0001-57, sede na Rodovia
Uv!G 800, Km 0 I. s/n. , Lagoa Santa/MG. Em consequencia, com base nos
art. 22,51 e 52 da Lei ll.IOI/2005:
       a) NOMEIO como administradora judicial PAOLI BALBINO &
BARROS SOCIEDADE DE ADVOGADOS, CNPJ n' 22.714.890/0001-36,                                         \
devidamente representada pelo Dr. Ot:ivio De Paoli Balbina, OAB/lv!G
123.643, com enderec;o na Rua Alagoas 1000, sl. 1303, Funcionirios, Bela
Horizonte/lv!G.           e            contato         (3 I)       3656-1514,          email
conta toc'Wp bba d VOQ.aclos.c om. b r.




                                                                                      ;.
            Case 19-12070-LMI       Doc 2   Filed 02/15/19   Page 47 of 62



       b) LAVRE-SE o competente termo de compromisso a ser assinado no

prazo de 48 horas, caso aceite a nomeac;ao.
       Aceito o encargo, DETERlVIINO que a administradorajudicial erie si e
                                                                                   £'    :
na internet para disponibilizac;ao integral dos autos da recuperac;iio judicial         /
forma eletr6nica aos interessados, informando nos autos o enderec;o eletr6nico
        c) No que tange     a remunerac;iio da administradorajudicial, conforme a   .
24 da LRF, sera fixada considerando a capacidade de pagamento do devedor, o             h
grau de complexidade do trabalho realizado e os val ores praticados no'/
mercado, paden do ser fixado em ate 5% do passive sujeito             a recuperac;iio"       ,
judicial(§ I 0 ).                                                                       '//'


        Quanta      a capacidade de pagarnento, observa-se que, em bora em crise, a (I
requerente possui faturamento de aproximadamente R$ 4.000.000,00 mensais,
com perspectiva de melhora gradativa, prevendo lucro liquido entre R$
5.700.000,00 e R$ 6.600.000,00 nos pr6ximos 5 anos, confonne infonna em
seu relat6rio gerencial de tluxo de caixa projetada as tl. 57, e entre R$
2.100.000,00 e R$ 2.600.000,00 nos pr6ximos 5 anos, confmme consta do
tluxo de caixa retificado as fl. 535.
        Lado outro, entende-se que o caso    e grande complexidade e repercussilo,
pais envolve a filial de uma multinacional que possui relat;Oes comerciais e
societ8.rias com outras empresas no exterior e no Brasil, a que possivelmente
demandad par parte da              administradora judicial amllise eventual        de
documentat;ao em lfngua estrange ira (o que inclusive jci consta dos autos: e.g.,
466 e seguintes), aJem de compreensao sistemica de eventuais grupos
societcirios e sua operat;ilo.
        Par tim, a passivo infom1ado sujeito     a recuperat;ilo e superior a R$   58
milhOes, possuindo aproximadamente 850 credores, o que demandani grande
           Case 19-12070-LMI    Doc 2   Filed 02/15/19     Page 48 of 62


empenho e esfon;o da administradora judicial quando da etapa de verifica<;ao
de creditos
        lsto posto, ARBITRO a remunera<;ao da administradora judicial em       Jfi
                                                                                  1
                                                                                  o
do valor do passive sujeito i recupera;;ao apurado ap6s a etapa de verificayiio
de creditos, com adiantamentos mensais da remunerayao no valor de R$
20.000,00 pel as primeiros 3 meses e R$ 30.000,00 para os meses seguinte >, /
podendo ser majorado posteriormente pelo juizo verificada a viabilidade pa        .f. //
tanto, a serem pago ate o dia 5 de cada mes, vencendo a primeira parcela rn
05/12/2017, a serem pagas diretamente i administradora judicial em conta
banc3ria a ser por ela informada e, ma1s, que comprove nos autos
mensalmente o pagamento.
        d) Havendo grande contingente de credores, e tendo em vista os custos
iniciais que o processo de recupera<;<io judicial acanetam para o administrador
judicial, DETERMINO que a requerente pague diretamente            a administradora
judicial montante equivalente a R$ l 0.000,00 a titulo de adiantamento de
despesas para expediyiio de cartas aos credores e outras despesas que se
fizerem necess3.rias, com prestayao de contas oportuna sabre tais despesas.
        e) Diante da complexidade do caso e o volume de documentos
apresentados, NOMEIO desde logo perito contador o Dr. Cleber Batista de
Sousa, CRC/MG 055861-0, com endere<;o na Av. Abrahao Caram, 820, CJ.
1010,      Bela     Horizonte/MG,        contatos        (3 1)   99324-0568       e
cleberiUJbatistaeassociados.com.br, para 2 (dais) traba1hos distintos, a saber:
        e.1) Primeiro trabalho do peri to contador: Realiza<;ao de uma peri cia
inicial (que tern por escopo atender         a   Recomenda<;ao n" 9/2017 da
Corregedoria do TJMG e Portaria CNJ n' 15/2016 da Corregedoria Nacional
de Justiya mas que, j3. sendo realizada no bojo de recuperayao judicial cujo
deferimento do processamento ja ocorreu, nao acalTeta prejufzos      a atividade da
          Case 19-12070-LMI    Doc 2   Filed 02/15/19   Page 49 of 62



requerente) cujo escopo sed_: a) verificar se as documentos apresentados pela
requerente estao de acordo com os livros cont:lbeis da empresa; b) apurar as
operayOes entre empresas do grupo; c) confrontar a relayao de credores com as
demonstrayOes e os livros cont3.beis da empresa; d) apurar a liquidez dos
ativos infonnados.
      FIXO o prazo de 60 (sessenta) dias para realizayao dos trabalhos
periciais iniciais, podendo ser prorrogado a pedido do perito mediante motivo
justificado diante da complexidade e eventual volume de infonnay6es.
      Para este trabalho, ARBITRO hononirios de R$ 20.000,00 a serem
depositados em juizo no prazo de 48 horas para inicio irnediato dos trabalhos,
podendo ser levantado 50% do montante no infcio dos trabalhos, ficando
desde logo autorizado expediyao de alvani ap6s deposito do valor pela
requerente.
      0 restante dos hononlrios periciais sera pago ap6s a entrega do laudo e
resposta a eventuais questionamentos par parte do juizo.
      e.2) Segundo trabalho do perito contador: Acompanhamento mensa! do
processo de recuperayao judicial como auxiliar da administradorajudicial com
escopo de exame dos balancetes mensais, exame da contabilidade inerente as         \
atividades da requerente, auxilio na verificayao dos creditos e na confecyfto da
rela<;ao I quadro de credores oportunos.
                                                                                   \
      Para este trabalho, ARBITRO bonorarios de R$ 6.000,00 mensms, a
serem pagos diretamente ao perito contador em conta banc:lria par ele
inforrnada, ate o dia 5 de cada mes, vencendo a primeira parcela em
05/12/2017.
      INTli\'IE-SE o peri to contador para compromisso par tenno nos autos,
caso aceite a nomeayao.
            Case 19-12070-LMI        Doc 2   Filed 02/15/19   Page 50 of 62


        f) A   solicita~ao   de documentos (cont8.beis ou nao), livros, infonna<;Oes
 sabre bens, neg6cios e contratos poderao ser requisitados ou determinados
 oportunamente, quer pelo Juizo, quer pelo administrador judicial, ficando e§,e
 desdeja autorizado para tanto, a tear do art. 51,§ I' c/c art. 22, I, "d", e II, "a"
 da Lei II.! 0 I/05, independentemente de medida incidental autonoma.
        g) DISPENSO a requerente de certidoes negativas fiscais para o
 exercicio de suas atividades, ressalvada exce<;iio legal (REsp 1.658.042 e
 Enunciado 55 da I" Jornada de Direito Comercial).
        h) DETERMINO a suspensao de todas as a<;oes e execu<;oes contra a
 requerente, ressalvadas as exce<;oes de lei, por 180 (cento e oitenta) dias (art.
 6', § 4' da LRF) cuja contagem fixo em dias uteis, aplicando-se o art. 219 do
 CPC/20 15 a tear do entendimento majoritB.rio dos tribunais. A prop6sito:
 TJMG, Agravo de lnstrumento 1.0000.17.030507-2/002, Relator(a): Des.(a)
 Aurea Brasil, 5' CAMARA CiVEL, julgamento em 10/08/0017, publica<;ao da
 sumula     em      17/08/20 I 7;   TJSP,    Agravo    de     Instrumento     2 I 4 7893-
 05.2016.8.26.0000, Relator Francisco Loureiro, Julgamento em 29.03.2017, I"
 Camara Reservada de Direito Empresarial, Publica<;ao em 29.05.2017; TJSP,
 Agravo de Jnstrumento 2210315-16.2016.8.26.0000, Relator: Hamid Bdine,
 Julgamento em 16.03.2017, P Ccimara Reservada de Direito Empresarial,
 Publica<;ao em 16.03.2017).
          i) INTIME-SE o lvlinisterio Publico sabre esta decisao, bern assim as
 fazendas Pllblicas da Uniao, todos os Estados e todos as Municfpios em que a
 requerente tiver sede e filiais.
       j) DETERIVIINO a expedi<;ao de oficio it Junta Comercial comunicando
 o tear da presente decisiio, devendo ser acrescido ao nome da empresa
. devedoras a expressiio "em recuperat;ao judicial".
            Case 19-12070-LMI      Doc 2      Filed 02/15/19   Page 51 of 62



        k) DETERMINO que a secretaria providencie a publica<;iio do edital
 previsto no art. 52, § 1o da LRF, contendo o resumo do pedido inicial, o tear
 desta decisao e a rela<;iio retificada de credoresjuntada nas f. 547/585;
        I) DETERiVIINO que a recuperanda apresente a Administradora
 Judicial e perante a secretaria do juizo midia digital em formato edit:ivel .xis
 contendo a relac;ao de credores retificada;
        m) Desde jit, tambem INTIME-SE a requerente de que no curso do
 processo nao podeni alienar, arrendar ou onerar bens, salvo estoque, nem
 alienar ou ceder/transferir cotas sociais ou mudar o administrador/gestor sem
 previa ciencia e autorizar;ao do Juizo da recuperac;ao judicial, nem tambem
 efetuar pagamentos antecipados ou com privilegio para alguns credores em
 detrimento de outros,
        n) INTIME-SE a requerente para apresentar seus balan<;os mensms a
 todo dia 10 de cada mes, com as esclarecimentos e demais documentos que o
 peri to ou o administrador judicial vierem a solicitar.
        o) Quanta   a decisao que detenninou a apresentat;:io de relat;:io     de bens
 da iVIARANGON! S. P. A e EURORUBBER S. P. A, incluindo-se bens
 existentes fora do Brasil, acompanhado de documento oticial devidamente
 traduzido que comprove a titularidade, DETERMINO a intimat;iio da
 requerente para que apresente referidos documentos, ticando fixado o prazo de
 30 (trinta) dias para tanto, conforme pedido formulado pela requerente na
 emenda da inicial;
        p) DEFIRO o desentranhamento das declara<;6es de IR nos autos as ll.
 342/363, com consequente arquivamento das c6pias no coti·e do cari6rio, face
 sigilo fiscal.
        INTIIVIEM-SE.
        Lagoa Santa, 14 de novembro de 20,1, 7.
                                        ~
                  ~             ~~~~
__-
     --------------~----~~~~;~~~
                               ~~1;5   \~~u    :\  l' ;o·\
                                                       A



                       ~,.. _h_.... _           uil_ _ _-., 20liJ.
Case 19-12070-LMI   Doc 2   Filed 02/15/19   Page 52 of 62




                                             EXHIBIT “%2”

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           Case 19-12070-LMI          Doc 2      Filed 02/15/19          Page 53 of 62


                            COURT OF 1ST INSTANCE
         LAGOA SANTA JUDICIAL DISTRICT – OFFICE OF THE CLERK OF THE 2ND
                                CIVIL/CRIMINAL/
                               JUVENILE COURT


                                        CERTIFICATION


                                      His Honor, Júlio Veríssimo de Souza Meira, Chief Clerk of
                                      the Lagoa Santa Judicial District - 2nd Civil, Criminal and
                                      Juvenile Court, State of Minais Gerais, pursuant to law,
                                      etc.


                                       CERTIFIES, pursuant to the request from Dr. Otávio de
Paoli Balbino de Almeida Lima, in accordance with the decision on pp. 89-91 back page of case
file No. 048412-39.2018.8.13.0148, which is proceeding under seal, DR. OTÁVIO DE PAOLI
BALBINO DE ALMEIDA LIMA – OAB/MG [MINAS GERAIS BAR ASSOCIATION] 123.643 was
appointed as the Trustee and Foreign Affairs Representative for MARANGONI TREAT LATINO
AMÉRICA INDÚSTRIA E COMÉRCIO DE ARTEFACTOS DE BORRACHA LTDA – Under
Judicial Reorganization in order to file for ancillary bankruptcy proceedings in the United States
of America, pursuant to the terms and conditions of the laws of that country, as granted by this
Court on p. 156 of the aforementioned case file. Nothing further.

                                        Lagoa Santa, January 25, 2019



                                      Júlio Veríssimo de Souza Meira
                                                 Chief Clerk
                                         Registration No. 1.021856-0

                                                  [signature]

                                        JÚLIO VERÍSSIMO DE SOUZA MEIRA
                                                   COURT CLERK
           Case 19-12070-LMI      Doc 2    Filed 02/15/19      Page 54 of 62




                     JUSTICA DE 18 INSTANCIA      ,
   COMARCA DE LAGOA SANTA- SECRETARIA DA 28 VARA CIVELICRIMINAL
                      INFANCIA E JUVENTUDE


                                    CERTIDAO


                                   0 Bel. Julio Verissimo de Souza Meira, Gerente de
                                   Secretaria da 2 8 Vara Civet, Criminal e JIJ da
                                   Comarca de Lagoa Santa, Estado de Minas Gerais,
                                   na forma da Lei, etc...


                                    CERTIFICA, atendendo requerimento do Dr. Otavio
de Paoli Balbino de Almeida Lima, que por for9a de decisao de fls. 89/91 verso proferida
nos autos n. 0 0048412-39.2018.8.13.0148, que tramitam em segredo de justi9a, o DR.
OTAVIO DE PAOLI BALBINO DE ALMEIDA LIMA- OAB/MG 123.643, foi nomeado
Gestor Judicial e Representante Estrangeiro de MARANGONI TREAD LATINO
AMERICA INDUSTRIA E COMERCIO DE ARTEFATOS DE BORRACHA LTDA - Em
Recupera~ao Judicial, para os fins de ajuizar pedido de falencia auxiliar nos Estados
Unidos da America, nos termos e limites das Leis daquele pais, conforme deferido por
          a
este Juizo fl. 156 des autos supramencionados. Nada mais.

                                    Lagoa Santa, 25 de janeiro de 2019




                                                r
                                  Juli Verissimo de Souza Meira
                                       Gerente d Secretaria
                                          Matricula n ° 1.021856-0




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Case 19-12070-LMI   Doc 2   Filed 02/15/19   Page 55 of 62




                                         EXHIBIT “C”

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               Case 19-12070-LMI       Doc 2      Filed 02/15/19   Page 56 of 62




                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION
                                  www.flsb.uscourts.gov



In re:


MARANGONI TREAD LATINO AMERICA                                     Chapter 15
INDUSTRIA E COMERCIO DE ARTEFATOS
DE BORRACHA LTDA                                                   Case No.:

      Debtor in a Foreign Proceeding.
_________________________________/

                 RULE 7007.1 CORPORATE OWNERSHIP STATEMENT

         Otávio de Paoli Balbino de Almeida Lima (the “Trustee”), the duly appointed judicial

manager and foreign representative of Marangoni Tread Latino America Industria e Comcercio de

Artefatos de Borracha Ltda (the “Debtor”), hereby discloses the following as to the Debtor:

         Marangoni Tread Latino America Industria e Comcercio de Artefatos de Borracha Ltda is

99.996% owned by Marangoni, S.p.A. and 00.004% by Eurorubber, S.p.A.


         Dated: February 15, 2019
                                                     Respectfully submitted,

                                                     SEQUOR LAW, P.A.
                                                     1001 Brickell Bay Dr., 9th Floor
                                                     Miami, Florida 33131
                                                     Telephone: (305) 372-8282
                                                     Facsimile: (305) 372-8202
                                                     Email: ggrossman@sequorlaw.com
                                                            bdecamargo@sequorlaw.com

                                            By:      /s/ Gregory S. Grossman
                                                     Gregory S. Grossman
                                                     Florida Bar No.: 896667
                                                     Bruno de Camargo
                                                     Florida Bar No.: 117588


                                        SEQUOR LAW, P.A.
Case 19-12070-LMI   Doc 2   Filed 02/15/19   Page 57 of 62




                                         EXHIBIT “D”

                    SEQUOR LAW, P.A.
               Case 19-12070-LMI       Doc 2    Filed 02/15/19     Page 58 of 62




                            UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION
                                    www.flsb.uscourts.gov



In re:


MARANGONI TREAD LATINO AMERICA                                     Chapter 15
INDUSTRIA E COMERCIO DE ARTEFATOS
DE BORRACHA LTDA                                                   Case No.:

      Debtor in a Foreign Proceeding.
_________________________________/

                 ORDER GRANTING RECOGNITION OF FOREIGN
              MAIN PROCEEDING PURSUANT TO §§ 1515 AND 1517 OF
            THE BANKRUPTCY CODE AND GRANTING RELATED RELIEF

         This matter came on for hearing on ___________ ____, 2019 (the “Hearing”), upon the

Verified Petition for Recognition of Foreign Main Proceeding Pursuant To §§1515 and 1517 (the

“Verified Motion”)1 [ECF No. ___], of Otávio de Paoli Balbino de Almeida Lima (“Foreign

Representative”), the duly appointed Foreign Representative of Marangoni Tread Latino America

Industria e COmercio de Artefatos de Borracha Ltda (the “Debtor”), seeking recognition and

related relief pursuant to Chapter 15 of the Bankruptcy Code of the Debtor’s court-approved

reorganization pending before the Second Civil Court of Lagoa Santa, Minas Gerais, Brazil (the

“Brazilian Court”), Case No. 0048412-39.2018.8.13.0148 (the “Brazilian Proceeding”). The

Court, having considered the Petition, the Verified Motion, and their respective attachments, the

argument of counsel, and being otherwise duly informed, the Court makes the following Order.

         The Court finds:



    1
       Capitalized terms not otherwise defined herein shall have the meaning ascribed to them in
the Verified Motion.
              Case 19-12070-LMI         Doc 2    Filed 02/15/19     Page 59 of 62




        A.     Due and timely notice of the filing of the Chapter 15 Petition and the Hearing was

given by the Foreign Representative as directed by this Court.

        B.     This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334,

and 11 U.S.C. §§ 109 and 1501.

        C.     Venue of this proceeding is proper in this judicial district pursuant to 28 U.S.C. §

1410.

        D.     This is a core proceeding under 28 U.S.C. § 157(b)(2)(P).

        E.     The Foreign Representative qualifies as a “foreign representative” as defined in 11

U.S.C. §101(24).

        F.     This Chapter 15 case was properly commenced pursuant to 11 U.S.C. §§ 1504,

1515 and 1517.

        G.     Foreign Representative has met the requirements of 11 U.S.C. §§ 1515(b), 1515(c),

1515(d), and Rule 1007(a)(4) of the Federal Rules of Bankruptcy Procedure.

        H.     The Brazilian Proceeding is a foreign proceeding under 11 U.S.C. §§ 101(23) and

1502(4).

        I.     The Brazilian Proceeding is entitled to recognition by this Court under 11 U.S.C.

§ 1517.

        J.     The Brazilian Proceeding is pending in the city of Lagoa Santa, in the State of

Minas Gerais, Brazil. Brazil is the country where the Debtor has its center of main interests and,

accordingly, the Brazilian Proceeding is a foreign main proceeding under 11 U.S.C. § 1502(4),

entitled to recognition as a foreign main proceeding under 11 U.S.C. § 1517(b)(1).

        K.     The Foreign Representative is entitled to all relief provided under 11 U.S.C. § 1520.




                                                 2
               Case 19-12070-LMI          Doc 2     Filed 02/15/19      Page 60 of 62




          L.     The Foreign Representative is further entitled to the relief expressly set forth in 11

U.S.C. § 1521.

          M.     The relief granted by this Order is necessary and appropriate, in the interests of

public and international comity, consistent with the public policy of the United States, warranted

pursuant to 11 U.S.C. § 1521 and will not cause any hardship to the creditors of the Debtor or other

parties that is not outweighed by the benefits of the relief being granted.

          Accordingly, it is ORDERED AND ADJUDGED that:

          1.     The Brazilian Proceeding is granted recognition as a “foreign main proceeding”

under 11 U.S.C. § 1517.

          2.     The Brazilian Proceeding and the Orders of the Brazilian Court shall be given full

force and effect and be binding on and enforceable in the United States against all persons and

entities. This includes without limitation, the Orders attached to the Verified Motion commencing

the Brazilian Proceeding and appointing the Foreign Representative as Judicial Manager and

Foreign Representative.

          3.     The Foreign Representative is entrusted with the full administration and realization

of all or a part of the estate and assets of the Debtor within the territorial jurisdiction of the United

States.

          4.     The Foreign Representative shall have the authority to act independently to carry

out any of the duties and powers granted by this Order.

          5.     The provisions of 11 U.S.C. § 1520 apply to this proceeding.

          6.     All persons and entities are stayed from commencing or continuing any action or

proceeding concerning the assets, rights, obligations or liabilities, of the Debtor or the Debtor’s

bankruptcy estate located in the United States.




                                                   3
                Case 19-12070-LMI        Doc 2     Filed 02/15/19      Page 61 of 62




          7.    All persons and entities are stayed from executing against the assets of the Debtor

or the Debtor’s bankruptcy estate located in the United States.

          8.    All persons and entities are prohibited from transferring, encumbering or otherwise

disposing of, any assets of the Debtor or the Debtor’s bankruptcy estate located in the United

States.

          9.    All persons and entities provided notice of the Chapter 15 Petition and the Hearing

thereon who are in possession, custody or control of property, or the proceeds thereof, of the

Debtor or the Debtor’s bankruptcy estate located within the territorial jurisdiction of the United

States, shall immediately advise the Foreign Representative by written notice sent to the following

addresses:

Attn: Otávio de Paoli Balbino de Almeida Lima
Rua Alagoas, 1.000, Sl. 1307 - Funcionários
Belo Horizonte, Minas Gerais, Brazil
CEP 30130-160

With a copy to:

Attn: Gregory S. Grossman
Bruno de Camargo
Sequor Law, P.A.
1001 Brickell Bay Drive, 9th Floor
Miami, Florida 33131

which written notice shall set forth: (i) the nature of such property or proceeds; (ii) when and

how such property or proceeds came into the custody, possession or control of such person or

entity; and (iii) the full identity and contact information for such person or entity.

          10.   The Foreign Representative is authorized to examine witnesses, take evidence or

seek the delivery of information concerning the assets, affairs, rights, obligations or liabilities of

the Debtor or the Debtor’s bankruptcy estate pursuant to §1521(a)(4), the Federal Rules of




                                                  4
                Case 19-12070-LMI           Doc 2     Filed 02/15/19       Page 62 of 62




Bankruptcy Procedure, including without limitation the procedure of Fed. R. Bankr. P. 2004 and

Local Rule 2004-1, without further order of this Court.

        11.     The Foreign Representative is further authorized to operate and may exercise the

powers of a trustee under, and to the extent provided by 11 U.S.C. §§ 363 and 552.

        12.     This Court shall retain jurisdiction with respect to the enforcement, amendment or

modification of this Order, any requests for additional relief or any adversary proceeding brought

in and through this Chapter 15 case, and any request by any person or entity for relief from the

provisions of this Order.

        13.     This Court shall retain jurisdiction with respect to the administration, realization,

and distribution of the assets of the Debtor within the territorial jurisdiction of the United States.

        14.     The Foreign Representative is directed to serve a true and correct copy of this Order

by electronic filing via the CM/ECF system with the Clerk of Court upon those persons or entities

who have appeared by counsel and requested electronic notification of filings in this case and

United States mail, first class postage prepaid, upon any other known creditors in the United States,

and any other person or entity known to have dominion and control over assets of the Debtors in

the United States, all of which shall be sufficient to give notice of this Order.

                                                    ###
Submitted by:

Gregory S. Grossman, Esq.
Bruno de Camargo, Esq.
SEQUOR LAW
1001 Brickell Bay Drive, 9th Floor
Miami, Florida 33131
Telephone: 305-372-8282
Facsimile: 305-372-8202
E-Mail: ggrossman@sequorlaw.com
bdecamargo@sequorlaw.com

Bruno de Camargo shall serve a copy of this Order on all interested parties entitled to service and file a
certificate of service thereafter.



                                                     5
